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14    Attorneys for MGA Parties
15                            UNITED STATES DISTRICT COURT
16                       CENTRAL DISTRICT OF CALIFORNIA
17                                 SOUTHERN DIVISION
18
      CARTER BRYANT, an individual         Case No. CV 04-9049 DOC (RNBx)
19                                         Consolidated with Case No. CV 04-9059/
                 Plaintiff,                Case No. CV 05-2727
20                                         Hon. David O. Carter
           v.
21                                         THE MGA PARTIES’ REQUEST FOR
      MATTEL, INC., a Delaware             JUDICIAL NOTICE OF UNITED
22    corporation,                         STATES COPYRIGHT OFFICE
                                           DOCUMENTS
23               Defendant.
                                           Trial Date: January 18, 2011
24                                         Judge: Hon. David O. Carter
25    AND CONSOLIDATED ACTIONS
26
27
28
                                                                 REQUEST FOR JUDICIAL NOTICE
                                                                    CV-04-9049 DOC (RNBX)
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  1         Pursuant to Federal Rule of Evidence 201, Counter-defendants MGA
  2   Entertainment, Inc., MGAE de Mexico S.R.L. de C.V., MGA HK Ltd., and Isaac
  3   Larian (collectively, the “MGA Parties”) respectfully request that the Court take
  4   judicial notice of: (a) a certified copy of a document recorded in the Copyright
  5   Office Records (TX 27506), and (b) records from the Public Catalog of the United
  6   States Copyright Office website (www.copyright.gov) (TX 27254 and TX 35958
  7   – 35969).
  8         The Court may take judicial notice of any fact that is “not subject to
  9   reasonable dispute in that it is either (1) generally known within the territorial
10    jurisdiction of the trial court or (2) capable of accurate and ready determination by
11    resort to sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid.
12    201(b); see United States v. Ritchie, 342 F.3d 903, 909 (9th Cir. 2003) (“Facts are
13    indisputable, and thus subject to judicial notice, only if they are either ‘generally
14    known’…or ‘capable of accurate and ready determination by resort to sources
15    whose accuracy cannot be reasonably questioned . . . . ’”). A court shall take
16    judicial notice if requested by a party and supplied with the necessary
17    information. Fed. R. Evid. 201(d).
18          A federal court may take judicial notice of public records, including
19    records of the Copyright Office. See United States v. Ritchie, 342 F.3d 903, 909
20    (9th Cir. 2003) (courts may take judicial notice of public records); MGIC Indem.
21    Corp v. Weisman, 803 F.2d 500, 504 (9th Cir. 1986); Vitek Systems, Inc. v. Abbott
22    Laboratories, 675 F.2d 190, 192 n.4 (8th Cir. 1982) (a court may take judicial
23    notice of documents filed with the U.S. Patent and Trademark Office); Kaempe v.
24    Myers, 367 F.3d 958, 965 (D.C. Cir. 2004); Denius v. Dunlap, 330 F.3d 919, 926
25    (7th Cir. 2003) (taking judicial notice of information on official government
26    website pursuant to Rule 201). Judicial notice of the Copyright Office records
27    allows the Court to take notice of certain facts either set forth in or established by
28    the records because they show that the facts are “capable of accurate and ready
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 1    determination by resort to sources whose accuracy cannot be reasonably
 2    questioned.”
 3          The facts that are the subject of this request are capable of accurate and
 4    ready determination by sources whose accuracy cannot reasonably be questioned.
 5    The facts in question are recorded in or established by the records of the
 6    Copyright Office. Pursuant to Rule 210(b) and (d), the MGA Parties hereby
 7    submit the following documents attached to the Appendix of Marked Trial
 8    Exhibits filed herewith:
 9          TX 27506: Trial Exhibit 27506 is a certified copy of a “Short Term
10    Option” that was recorded at the Copyright Office between MGA and Twentieth
11    Century Fox on April 28, 2004. The Short Term Option recites the chain of title
12    from Bryant through MGA to Twentieth Century Fox, including the registrations
13    for the works authored by Carter Bryant: VA 1-218-487, VA 1-218-488, VA 1-
14    218-490, VA 1-218-491, VA 1-218-489.
15          TX 27254: Trial Exhibit 27254 is a printout of results from a search run on
16    the Public Catalog of the United States Copyright Office website
17    (www.copyright.gov) that reveals the titles and registration numbers of the works
18    authored by Carter Bryant, assigned to MGA, and then recorded in connection
19    with the Short Term Option to Twentieth Century Fox.
20          TX 35958: Trial Exhibit 35958 is a printout of results from a search run on
21    the Public Catalog of the United States Copyright Office website
22    (www.copyright.gov) for the keyword “bratz” setting the search limit date range
23    as between 2001 to 2004. The Copyright Number for the Bryant Bratz group
24    drawing registered by MGA (VA 1-218-489) appears at line 51 of this results
25    printout.
26          TX 35959: Trial Exhibit 35959 is a printout of results from a search run on
27    the Public Catalog of the United States Copyright Office website
28    (www.copyright.gov) for the keywords “carter bryant” setting the search limit
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 1    date range as between 2001 to 2004. The Copyright Numbers for the Bryant
 2    Bratz drawings registered by MGA (VA 1-218-491, VA 1-218-490, VA 1-218-
 3    489, VA 1-218-488, VA-1-218-487) appear at lines 11 through 15 of this results
 4    printout.
 5          TX 35960: Trial Exhibit 35960 is printout of results from a search run on
 6    the Public Catalog of the United States Copyright Office website
 7    (www.copyright.gov) for the keyword “cloe” setting the search limit date range as
 8    between 2001 to 2004. The Copyright Number for the Sasha drawing registered
 9    by MGA (VA 1-218-490) appears at line 22 of this results printout.
10          TX 35961: Trial Exhibit 35961 is a printout of results from a search run on
11    the Public Catalog of the United States Copyright Office website
12    (www.copyright.gov) for the keyword “jade” setting the search limit date range as
13    between 2001 to 2004. The Copyright Number for the Jade drawing registered by
14    MGA (VA 1-218-487) appears at line 773 of this results printout.
15          TX 35962: Trial Exhibit 35962 is a printout of results from a search run on
16    the Public Catalog of the United States Copyright Office website
17    (www.copyright.gov) for the keyword “mga” setting the search limit date range as
18    between 2001 to 2004. The Copyright Numbers for the Bryant Bratz drawings
19    registered by MGA (VA 1-218-491, VA 1-218-490, VA 1-218-489, VA 1-218-
20    488, VA-1-218-487) appear at lines 61 through 63 and 41-42, respectively, of this
21    results printout.
22          TX 35963: Trial Exhibit 35963 is a printout of results from a search run on
23    the Public Catalog of the United States Copyright Office website
24    (www.copyright.gov) for the keyword “sasha” setting the search limit date range
25    as between 2001 to 2004. The Copyright Number for the Sasha drawing
26    registered by MGA (VA 1-218-488) appears at line 231 of this results printout.
27          TX 35964: Trial Exhibit 35964 is a printout of results from a search run on
28    the Public Catalog of the United States Copyright Office website
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 1    (www.copyright.gov) for the keyword “yasmin” setting the search limit date
 2    range as between 2001 to 2004. The Copyright Number for the Yasmin drawing
 3    registered by MGA (VA 1-218-491) appears at line 62 of this results printout.
 4            TX 35965: Trial Exhibit 35965 is a printout of the record corresponding to
 5    VA 1-218-487 for a work titled “Jade” from the Public Catalog of the United
 6    States Copyright Office website (www.copyright.gov). This record indicates that
 7    the Copyright Claimant is MGA, the Authorship on Application is Carter Bryant,
 8    the Date of Creation is 1998, and the Date of Publication is in 2001.
 9            TX 35966: Trial Exhibit 35966 is a printout of the record corresponding to
10    VA 1-218-488 for a work titled “Sasha” from the Public Catalog of the United
11    States Copyright Office website (www.copyright.gov). This record indicates that
12    the Copyright Claimant is MGA, the Authorship on Application is Carter Bryant,
13    the Date of Creation is 1998, and the Date of Publication is in 2001.
14            TX 35967: Trial Exhibit 35967 is a printout of the record corresponding to
15    VA 1-218-489 for a work titled “Bratz group drawing” from the Public Catalog of
16    the United States Copyright Office website (www.copyright.gov). This record
17    indicates that the Copyright Claimant is MGA, the Authorship on Application is
18    Carter Bryant, the Date of Creation is 1998, and the Date of Publication is in
19    2001.
20            TX 35968: Trial Exhibit 35968 is a printout of the record corresponding to
21    VA 1-218-490 for a work titled “Cloe” from the Public Catalog of the United
22    States Copyright Office website (www.copyright.gov). This record indicates that
23    the Copyright Claimant is MGA, the Authorship on Application is Carter Bryant,
24    the Date of Creation is 1998, and the Date of Publication is in 2001.
25            TX 35969: Trial Exhibit 35969 is a printout of the record corresponding to
26    VA 1-218-491 for a work titled “Yasmin” from the Public Catalog of the United
27    States Copyright Office website (www.copyright.gov). This record indicates that
28    the Copyright Claimant is MGA, the Authorship on Application is Carter Bryant,
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 1    the Date of Creation is 1998, and the Date of Publication is in 2001.
 2
 3
      Dated: March 29, 2011            Respectfully submitted,
 4
                                       ORRICK, HERRINGTON & SUTCLIFFE LLP
 5
 6
                                       By:           /s/_Diana M. Rutowski__
 7                                                   Diana M. Rutowski
                                                Attorneys for the MGA Parties
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